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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                           Case No. 21-10016 (BLS)
    Aura Financial Corporation                                       Chapter 7
                     Debtor.                                         Related Doc. No. 26


    In re:                                                           Case No. 21-10017 (BLS)
    Aura Equity Holdings LLC                                         Chapter 7
                     Debtor.                                         Related Doc. No. 25


    In re:                                                           Case No. 21-10018 (BLS)
    Insikt Acquisition LLC                                           Chapter 7
                     Debtor.                                         Related Doc. No. 25


    In re:                                                           Case No. 21-10019 (BLS)
    Insikt Servicing LLC                                             Chapter 7
                     Debtor.                                         Related Doc. No. 25


            ORDER GRANTING APPLICATION OF ALFRED T. GIULIANO,
            CHAPTER 7 TRUSTEE, PURSUANT TO BANKRUPTCY CODE
         SECTIONS 327(A) AND 328(a), BANKRUPTCY RULES 2014(a) AND 2016,
        AND LOCAL RULE 2014-1 FOR AUTHORITY TO EMPLOY AND RETAIN
     GIULIANO, MILLER & COMPANY, LLC AS ACCOUNTANTS AND FINANCIAL
     ADVISORS TO CHAPTER 7 TRUSTEE, NUNC PRO TUNC TO JANUARY 10, 2021

             Upon consideration of the Application (the “Application”)1 of Alfred T. Giuliano, the

chapter 7 trustee (the “Chapter 7 Trustee”) pursuant to sections 327(a) and 328(a) of the

Bankruptcy Code for authority to employ and retain Giuliano, Miller & Company, LLC

(“GMC”) as accountants and financial advisors to the Trustee, nunc pro tunc to January 10,

2021; the Court having reviewed the Application, and the Declaration of Donna Miller; the Court

finding that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and

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    Capitalized terms not defined herein shall have the meanings ascribed to them in the Application.

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reference from the District Court pursuant to 28 U.S.C. § 157; (b) notice of the Application and

the hearing was sufficient under the circumstances; (c) based on the information available to

GMC to date and the disclosures GMC has made to date, GMC neither has nor represents any

interest materially adverse to the interests of the Debtors’ estates, any other parties in interest, or

in connection with the Debtors’ cases; (d) the Court having determined that GMC is a

“disinterested person” pursuant to § 101(14) of the Bankruptcy Code; and (e) the Court having

determined that the legal and factual bases set forth in the Application and the Declaration

establish just cause for the relief granted herein; and it appearing to the Court that the said

Application should be approved, it is HEREBY ORDERED THAT:


                   1.        The Application is GRANTED as set forth herein.

                   2.        The Chapter 7 Trustee is hereby authorized to retain and employ GMC as

accountants and financial advisors pursuant to sections 327 and 328 of the Bankruptcy Code,

Bankruptcy Rules 2014 and 2016, and Local Rule 2014-1, nunc pro tunc to January 10, 2021, as

set forth herein.

                   3.        GMC shall file applications and be compensated in accordance with

sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and such

other procedures as may be fixed by order of the Court.

                   4.        GMC is authorized to render professional services to the Chapter 7

Trustee as described in the Application.

                   5.        GMC shall not be compensated for performing any duties that are

Chapter 7 duties under the Bankruptcy Code.




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                   6.        GMC shall provide notice to the Court of any adjustments of its hourly

rates, and shall serve such notice upon the U.S. Trustee, the Debtors, and the Chapter 7 Trustee.

                   7.        The Chapter 7 Trustee and GMC are authorized and empowered to take all

actions necessary to implement the relief granted in this Order.

                   8.        The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                   9.        This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




Dated: March 15th, 2021                                BRENDAN L. SHANNON
Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE




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